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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



IN RE PHARMACEUTICAL INDUSTRY                     )
AVERAGE WHOLESALE PRICE                           )     MDL No. 1456
LITIGATION                                        )
                                                  )     CIVIL ACTION: 01-CV-12257-PBS
                                                  )
THIS DOCUMENT RELATES TO:                         )     Judge Patti B. Saris
                                                  )
TRACK TWO SETTLEMENT                              )
                                                  )


                       [PROPOSED] ORDER GRANTING PLAINTIFFS’
                        MOTION FOR LEAVE TO FILE UNDER SEAL


         THIS MATTER is before the Court on plaintiffs’ motion for leave to file under seal. The

Court, having considered all pleadings in support and in opposition thereto, and being fully

advised in the premises, hereby

         GRANTS plaintiffs’ motion for leave to file under seal the following items:

         1.       Plaintiffs’ Second Supplemental Submission in Support of a Rebalanced Track
                  Two Settlement; and

         2.       Declaration of Raymond S. Hartman in Support of Track 2 Settlement
                  Allocation.



         IT IS SO ORDERED.




         DATED: _____________________                 _________________________________
                                                            Hon. Patti B. Saris
                                                            United States District Court Judge




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                                CERTIFICATE OF SERVICE

        I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy of
the foregoing [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE
TO FILE UNDER SEAL be delivered to all counsel of record by electronic service pursuant to
Paragraph 11 of the Case Management Order No. 2, by sending on August 19, 2011, a copy to
LexisNexis File and Serve for Posting and notification to all parties


                                            By        /s/ Steve W. Berman
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